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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


FREDRIC N. ESHELMAN,

        Plaintiff,

v.
                                            Case No. 4:20-cv-04034
TRUE THE VOTE, INC., CATHERINE
                                            JURY DEMANDED
ENGELBRECHT, GREGG PHILLIPS, OPSEC,
LLC, JAMES BOPP, JR., AND THE BOPP
LAW FIRM,

        Defendants.

 PLAINTIFF’S VERIFIED EMERGENCY APPLICATION FOR TEMPORARY
    RESTRAINING ORDER AS TO ALL DEFENDANTS AND VERIFIED
     MOTION FOR PRELIMINARY INJUNCTION AS TO CATHERINE
 ENGELBRECHT, GREGG PHILLIPS, OPSEC, LLC, JAMES BOPP, JR., AND
                       THE BOPP LAW FIRM

                                        Respectfully submitted,
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                                     INTRODUCTION

       Plaintiff moves for entry of a Temporary Restraining Order and Preliminary

Injunction enjoining Defendants True the Vote Inc. (“TTV”), Catherine Engelbrecht,

Gregg Phillips, OPSEC Group, LLC (“OPSEC”), James Bopp, Jr., and The Bopp Law

Firm, from transferring or otherwise dissipating any of Plaintiff’s $2.5 million conditional

gift (“Eshelman Funds”) to TTV, pending entry by the Court of a preliminary injunction

or final judgment. 1

       First, Plaintiff is likely to succeed on the merits. Based on Defendants’

representations about their plan to litigate 2020 presidential election irregularities, Plaintiff

gave TTV $2.5 million on the condition that TTV follow through on specific initiatives to

discover and litigate voter fraud. When it became clear TTV would not meet those

conditions, Plaintiff requested TTV return all remaining funds; TTV did not. TTV has

transferred over $1.25 million dollars of Plaintiff’s donation to the other Defendants. None

of the Defendants have returned Plaintiff’s money.

       Second, Plaintiff faces a substantial threat of injury from Defendants’ continued

possession of his funds. TTV has already transferred over $1.25 million of Plaintiff’s

money to the other Defendants. TTV also indicated an intention to continue spending

Plaintiff’s money. Prior to Plaintiff’s gift, TTV had only $             . The other individual

Defendants are, to the best of Plaintiff’s knowledge, individuals of ordinary means. The


1
  Plaintiff previously filed a Motion Preliminary Injunction (Dkt. 10) as to Defendant TTV;
that Motion is pending before the Court. This current Application and Motion requests a
TRO as to all Defendants (including Defendant TTV), as well as a Preliminary Injunction
as to the other five Defendants.

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two entity Defendants are small businesses. Without injunctive relief, Defendants will

continue to dissipate Plaintiff’s money and do not have sufficient assets from which he can

recover damages, depriving him of any meaningful remedy.

       Third, Defendants will not be harmed if the Court grants the TRO and injunction.

With the January 6, 2021 certification of the election results, there is no longer any reason

for TTV, or any other Defendant, to continue spending Plaintiff’s money.

       Lastly, the public interest will be served if the funds are not dissipated. Allowing

TTV to mislead donors, and then spend their directed donations for its own interest, does

not serve the public.    Likewise, allowing the other Defendants—insider beneficiary

transferees of such scheme—to retain Plaintiff’s funds does not serve public interest.

                      NATURE AND STAGE OF PROCEEDING

       Plaintiff filed suit against TTV on November 25, 2020. Plaintiff filed an Amended

Complaint on December 31, 2020, adding the other Defendants and additional causes of

action. No Defendant has filed an Answer, as their Answers are not yet due.

                                BACKGROUND FACTS

       I.   Defendants refused to comply with the conditions on the Eshelman Funds.

       Following the presidential election, Plaintiff desired to fund efforts to identify and

litigate election fraud allegations. Am. Compl. (Dkt. 20) at ¶ 11-12. Plaintiff spoke with

Engelbrecht, TTV’s President, in early November. Id. at ¶ 13. Engelbrecht explained

Defendants had developed a multi-pronged plan (the “Validate the Vote 2020” initiative)

to investigate, litigate, and expose suspected illegal balloting and fraud in the 2020 general



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election. Id. at ¶ 16; Exhibit A, a true and correct copy of Validate the Vote 2020 Plan.

Engelbrecht represented TTV intended to file lawsuits in seven states. Am. Compl. at ¶ 17.

Phillips is a current or recent employee, officer, or director of TTV. OPSEC is affiliated

with and does work on behalf of TTV; Phillips is the President of OPSEC. Exhibit A. Bopp

is the General Counsel of TTV and The Bopp Law Firm works on behalf of TTV. See id.

       On November 5th, Plaintiff agreed to give $2 million to TTV on the condition the

funds would be used for the initial stages of the Validate the Vote 2020 project (not other

projects). Id. at ¶ 20-22. Plaintiff and his representatives were clear about this. Id. at ¶ 21.

       On November 10th, TTV paid $500,000 to Bopp and The Bopp Law Firm as a

“retainer.” See Exhibit J, a true and correct copy of TTV’s Wells Fargo records at TTV009.

On November 12th, TTV paid $350,000 to Phillips and OPSEC as a “retainer.” See id.

Plaintiff was not aware these payments had been made until after this litigation ensued.

Am. Compl. at ¶¶ 23-24.

       All Defendants had conversations with Plaintiff or his representatives, wherein it

was conveyed Defendants would work jointly on the Validate the Vote 2020 initiatives. Id.

at ¶ 25.

       Soon after Plaintiff’s conditional gift, Engelbrecht told Plaintiff the legal expenses

might exceed the initial budget. Id. at ¶ 26. On November 13th, Plaintiff agreed to give

another $500,000, subject to the earlier conditions. Id. at ¶ 26-27. Time was of the essence

for the Defendants’ Validate the Vote 2020 plan because of state and federal certification

deadlines and electoral college votes. Id. at ¶ 28.




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       Plaintiff regularly sought substantive updates and written reports, but only received

vague responses and no written reports. Id. at ¶ 29-30, 32. Plaintiff was only provided with

filed complaints from four states, and no specific updates regarding the litigation status in

the remaining three. Id. at ¶ 33. But Defendants never filed suit in the three states.

Defendants failed to inform Plaintiff of that material deviation from the plan. Id. at ¶ 34.

       Defendants’ inability to make progress on the goals suggested these goals might not

be met. Id. at ¶ 35. Given Defendants’ lack of progress, Plaintiff called a meeting seeking

details. Id. at ¶ 36, 37. At the meeting, Defendants failed to respond to Plaintiff’s requests

for specifics. Id. at ¶ 38-39. According to PACER records, Defendants voluntarily

dismissed all of the four pending pieces of litigation, the very same day as Defendants’

meeting with Plaintiff, and TTV issued a press release the next day. Id. at ¶ 40; Exhibit B,

a true and correct copy of the November 17, 2020 Press Release.

       II.   Defendants repeatedly have refused to return the Eshelman Funds.

       TTV repeatedly refused to comply with Plaintiff’s requests to return the Eshelman

Funds. TTV has transferred over half the Eshelman Funds to the other Defendants; none

have returned Plaintiff’s money.

       Plaintiff directed Engelbrecht to return his money multiple times. Am. Compl. at ¶

44, 46-48; Exhibit C, a true and correct copy of Plaintiff’s November 17, 2020 Email;

Exhibit D, a true and correct copy of Plaintiff’s November 19, 2020 Email; Exhibit E, a

true and correct copy of the November 21, 2020 Letter. Engelbrecht responded on

November 22 and neither confirmed TTV intended to return Plaintiff’s money nor agreed

to initiate a wire. Am. Compl. at ¶¶ 49-50; Exhibit F, a true and correct copy of the


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November 22 Email. However, Engelbrecht’s response did acknowledge Plaintiff’s gifts

were given on the condition that they would be used for TTV’s efforts to identify and

litigate fraud and illegal conduct during the general election. Id. Engelbrecht stated

vaguely TTV had a variety of commitments that must be fulfilled. Am. Compl. ¶ 50;

Exhibit F. Plaintiff’s counsel reaffirmed his demand. Am. Compl. at ¶ 52; Exhibit G, a true

and correct copy of Counsel’s November 22, 2020 Email.

       This was ignored. Am. Compl. at ¶ 53. Plaintiff’s counsel sent a final demand letter.

Id. at ¶ 43; Exhibit H, a true and correct copy of Counsel’s November 23 Demand Letter

(omitting the originally attached documents which are merely duplicative of materials

already attached to Plaintiff’s Amended Complaint). TTV failed to return Plaintiff’s funds

or provide an accounting. Am. Compl. at ¶ 55; Exhibit I, a true and correct copy of Mr.

Bopp’s November 23, 2020 Letter. Rather, Defendant Bopp wrote on behalf of TTV and

proposed to return less than half of Plaintiff’s funds in exchange for a release of all claims.

Id. Unhappy with this unreasonable offer, Plaintiff filed this action.

       III. Defendants have misappropriated Plaintiff’s funds and there is a
            substantial risk that Plaintiff’s funds may continue to be irreparably
            misappropriated absent judicial intervention.

       TTV has already disposed of over half the Eshelman Funds by paying that money

to the other Defendants, and in support of projects unrelated to Validate the Vote. Am.

Compl. at ¶ 59; Exhibit J; Exhibit R, a true and correct copy of TTV’s Disbursements.

       TTV had only $             in its account prior to Plaintiff’s donations. Exhibit J at

TTV010. Notably, the bank records TTV produced are dated November 5 through

December 24, 2020. Exhibit J. Plaintiff suspects TTV has continued and, importantly, will


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continue to improperly dispose of the Eshelman Funds unless the Court enjoins these

improper actions, and that the other Defendants who have been improperly enriched will

spend the Eshelman Funds, unless enjoined by the Court.

       After Plaintiff’s conditional gift, TTV paid Engelbrecht personally $30,000

(Exhibit J at TTV006 (11/30 transaction) and TTV009 (11/10 transaction), Phillips’

OPSEC $750,000 (and continued to do so even after Plaintiff filed suit) (Id. at TTV009

(11/12 transaction) corresponding with Exhibit K, a true and correct copy of OPSEC’s

11/9/20 invoice for $350,000; Exhibit J at TTV 004; Exhibit L, a true and correct copy of

OPSEC’s 12/7 invoice; Exhibit R), and The Bopp Law Firm $500,000. Exhibit J at

TTV009 (11/10 transaction). None of the non-TTV Defendants acquired the money in good

faith or for valuable consideration, as they were all directors, officers, employee or agents

of TTV and knew of the conditions tied to Plaintiff’s gift to TTV but did not use the funds

in furtherance of the Validate the Vote 2020 mission, and because they did not properly

work for the money paid to them, as their work (if any) was not for the mission. Am.

Compl. at ¶ 59.

       TTV has failed to comply with its duty to provide the State of Texas with accurate

contact information. See Exhibit M, a true and correct copy the Declaration of Tim Wilson

at ¶ 5. This is particularly worrisome given the scale of Plaintiff’s conditional gifts relative

to TTV’s annual budgets. Between 2016 and 2018, TTV’s annual budgets ranged from

$425,410 to $563,388. See Exhibits N, O, and P, true and correct copies of TTV’s Forms




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990, as filed with the IRS, for 2016-18. 2 By comparison, Plaintiff’s conditional gifts were

massive. Given that disparity, that TTV incurred a net operating loss between 2016 and

2018, and that TTV does not appear to have significant cash reserves (id.), TTV does not

have the financial ability to repay Plaintiff if his funds were found to be used in violation

of Plaintiff’s conditions.

       Likewise, OPSEC was formed in September 2020. Exhibit Q, a true and correct

copy of OPSEC’s Articles of Formation. As a new organization, OPSEC is unlikely to

have assets to satisfy a final judgment in this case. The other Defendants are simply

individuals and a small law firm, and similarly are unlikely to be able pay back Plaintiff

should a final judgment for Plaintiff be entered.

       In short, all Defendants worked together on the scheme to swindle funds from

Plaintiff on the pretext of using all the funds for the Validate the Vote 2020 project, while

knowing the funds would be used for unrelated projects or to pay past expenses.


                             ARGUMENT AND AUTHORITIES

       Plaintiff seeks a TRO and preliminary injunction enjoining TTV from using any

portion of the $2.5 million, and a TRO and preliminary injunction enjoining all other

Defendants from using any of the money improperly paid to them by TTV on or after

November 5, 2020, to prevent a further depletion of what remains of Plaintiff’s donation

and placing those funds beyond the reach of this Court.


2
 Although a 501(c)(3) organization is supposed to make its Forms 990 publicly available,
and although Plaintiff’s counsel requested Defendant’s 2019 Form 990 from counsel for
Defendant, Defendant has not made that document available.

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       I.    Standard of Review

       A party seeking a TRO or preliminary injunction pursuant to Rule 65 of the Federal

Rules of Civil Procedure must establish four elements: (1) a substantial likelihood of

success on the merits; (2) a substantial threat of irreparable injury if the injunction is

denied; (3) the threatened injury outweighs any prejudice the injunction might cause the

defendant; and (4) the injunction will not disservice the public interest. Janvey v. Alguire,

647 F.3d 585, 595 (5th Cir. 2011).

       II.   Plaintiff is substantially likely to succeed on the merits.

       Plaintiff has a substantial likelihood of success on the merits. TTV has pocketed

$2.5 million of Plaintiff’s and has not used the gifts according to the requisite conditions,

nor has it returned the money. All other Defendants have improperly retained the Eshelman

Funds. Plaintiff is entitled to recover these funds, and until then, enjoin Defendants from

further depleting any portion of the Eshelman Funds.

       To satisfy the first element required, Plaintiff need only present a prima facie case.

See id. at 596. He is not required to show that he is certain to win or to prove an entitlement

to summary judgment; even showing some likelihood of success can be enough. Id. at 595–

96 (citing Byrum v. Landreth, 566 F.3d 442, 446 (5th Cir.2009)); Ass’n of Taxicab

Operators, USA v. City of Dallas, 760 F. Supp. 2d 693, 696 (N.D. Tex. 2010). Likelihood




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of success on the merits is gauged by “standards provided by the substantive law.” Janvey,

647 F.3d at 596 (internal citations omitted). This case is governed by Texas law.

          A. Success of the Declaratory-Judgment Claim

       Plaintiff seeks an order declaring himself to be the rightful owner of the $2.5 million

conditionally given to TTV and requiring TTV to immediately surrender possession of

those funds to him. Federal courts have “unique and substantial discretion in deciding

whether to declare the rights of litigants.” MedImmune, Inc. v. Genentech, Inc., 549 U.S.

118, 136 (2007) (citations and internal quotation marks omitted).          To exercise that

discretion, the Court should consider whether “the dispute [is] definite and concrete.” Id.

at 127 (citations and internal quotation marks omitted).

       Here, the controversy between the parties both definite and concrete, and it will be

fully resolved if the Court determines that the gift from Plaintiff to TTV was conditional,

that TTV failed to fulfill the conditions, and that the remaining funds should be returned.

Because Plaintiff did not make an unconditional transfer of property to TTV, he did not

unconditionally gift the funds to TTV. A gift is effective only when there is (1) a clear

intent by the donor to make a gift and (2) an immediate and unconditional transfer of the

property, such that title passes contemporaneously from the donor to the recipient. Oadra

v. Stegall, 871 S.W.2d 882, 890 (Tex. App.—Houston [14th Dist.] 1994, no writ) (citing

Wells v. Sansing, 245 S.W.2d 964, 965 (Tex. 1952)).

       Although Plaintiff transferred $2.5 million, he did not give TTV the money

unconditionally. Thus, no valid gift was made—and unconditional ownership to the money

did not vest in TTV—because Plaintiff’s gift was premised on a condition that did not and


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will not occur. See Yates v. Blake, 491 S.W.2d 751, 754 (Tex. App.—Corpus Christi 1973,

no writ) (holding that no valid gift was made where gift was premised upon the giving

party’s death, even though recipient already had the property in her possession). Plaintiff’s

repeated efforts to reclaim the gift “confirms [his] intention not to vest unconditional

ownership” in TTV. Id. Consequently, Plaintiff is still the owner of any funds TTV failed

to use according to his stated conditions.

          B. Success of the Breach of Contract Claim

       Plaintiff also can demonstrate a likelihood of success on his breach of contract claim

against TTV. The elements of breach of contract are: (1) the existence of a valid contract;

(2) performance by the plaintiff; (3) breach of the contract by the defendant; and

(4) damages sustained as a result. See Innova Hosp. San Antonio, LP v. Blue Cross & Blue

Shield of Ga., Inc., 892 F.3d 719, 731 (5th Cir. 2018).

       On November 5 and 13, 2020, the parties agreed Plaintiff would supply TTV with

$2.5 million on the condition that Defendant would use the money for the Validate the

Vote 2020 initiative. These agreements formed a valid contract, and Plaintiff performed

his obligations by providing the $2.5 million. TTV breached the contract by failing to fulfill

its promise to engage in certain actions for the Validate the Vote 2020 project. TTV’s

inaction caused Plaintiff’s damages.

       Thus, Plaintiff’s breach-of-contract action against TTV has a likelihood for success

on the merits. See Atwood Turnkey Drilling, Inc. v. Petroleo Brasileiro, S.A., 875 F.2d

1174, 1178 (5th Cir. 1989) (holding that evidence of defendant’s obligation to pay plaintiff




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“a substantial sum of money” after plaintiff performed under the contract “is sufficient to

show a potential for success on the merits”).

           C. Success of the Conversion Claim

       Plaintiff similarly can demonstrate a likelihood of success on his conversion claim.

Conversion is “the unauthorized and wrongful assumption and exercise of dominion and

control over the personal property of another, to the exclusion of or inconsistent with the

owner’s rights.” Arthur W. Tifford, PA v. Tandem Energy Corp., 562 F.3d 699, 705 (5th

Cir. 2009). Here, Defendants are exercising an unauthorized and wrongful control over

Plaintiff’s conditional gifts—acts inconsistent with Plaintiff’s rights to his money.

       Plaintiff’s donation to TTV was not an effective “gift” because it was conditioned

upon TTV’s engaging in certain activities under its Validate the Vote program. Because

TTV failed to meet those conditions, title to the money never vested in TTV.

       Because Plaintiff still has title to and is the current owner of the money, Defendants’

refusal to return it despite Plaintiff’s requests is an inconsistent act with Plaintiff’s rights

to the money as its true owner. See Bandy v. First State Bank, Overton, 835 S.W.2d 609,

622 (Tex. 1992); see also Houston Nat’l Bank v. Biber, 613 S.W.2d 771, 774 (Tex. App.—

Houston [14th Dist.] 1981, writ ref’d n.r.e.). Thus, Plaintiff has a likelihood of success on

the merits of his conversion claim.

           D. Success of the Money Had and Received Claim

       Plaintiff similarly can demonstrate a likelihood of success on his money had and

received claim against Defendants. To prove a claim for money had and received, the

plaintiff must establish the defendant holds the money that in equity and good conscience


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belongs to the Plaintiff. Staats v. Miller, 243 S.W.2d 686, 687-88 (Tex. 1951). Whether

the defendant acquired the money wrongfully is irrelevant. Doss v. Homecomings Fin.

Network, Inc., 210 S.W.3d 706, 711 (Tex.App.—Corpus Christi 2006, pet. denied). Rather,

the sole inquiry is whether the defendant received money that rightfully belongs to the

plaintiff. Staats, 243 S.W.2d at 687-88.

      Here, Defendants hold money that, in equity and good conscience, belongs to

Plaintiff. Plaintiff conditionally gave $2.5 million to TTV, in which Defendants

Engelbrecht and Phillips are officers and/or directors, and in which Defendants Bopp, The

Bopp Law Firm, and OPSEC are agents. Defendants did not meet their obligations to use

the money as conditioned by Plaintiff. As demonstrated above, the non-TTV Defendants

received a substantial part of the money Plaintiff conditionally donated to TTV, and are

currently holding said funds, all of which in equity and good conscience belongs to

Plaintiff. Thus, Plaintiff has a likelihood of success on the merits of his money had and

received claim.

          E. Success of the Fraudulent and Negligent Misrepresentation Claims

       Additionally, Plaintiff can demonstrate a likelihood of success on his fraudulent

misrepresentation claim. See, e.g., Baribeau v. Gustafson, 107 S.W.3d 52, 58 (Tex. App.—

San Antonio 2003, pet. denied).

       Multiple times in November 2020, Engelbrecht and TTV made material

misrepresentations to Plaintiff that, using Plaintiff’s conditional gift, TTV would comply

with its stated Validate the Vote 2020 efforts. But Engelbrecht and TTV knew at the time

those representations were false, as they knew they intended to use Plaintiff’s conditional


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gifts for other purposes, such as paying off debts it owed, for other matters besides the

Validate the Vote 2020 project, and not for the manner in which they told Plaintiff they

would use the money. They made these representations intending that Plaintiff gift the

monies to TTV. Plaintiff justifiably relied on Defendants’ misrepresentations by making

conditional gifts, and has suffered $2.5 million in damages.

       Alternatively, Plaintiff can demonstrate a likelihood of success on his negligent

misrepresentation claim. See, e.g., McCamish, Martin, Brown & Loeffler v. F.E. Appling

Interests, 991 S.W.2d 787, 793 (Tex. 1999). Engelbrecht and TTV made representations

in the course of their business and/or in a transaction in which they had a pecuniary interest

that was false for the purpose of guiding Plaintiff. Defendants failed to exercise reasonable

care in gathering and disseminating the information, and Plaintiff suffered a financial loss

due to his justifiable reliance.

       III. If the restraining order and preliminary injunction is not entered,
            Plaintiff faces a substantial threat of irreparable injury.

       Without immediate relief, Plaintiff will suffer a substantial threat of irreparable

injury. With each day that passes, the likelihood Plaintiff will recover the funds

misappropriated through Defendants’ actions diminishes because the actual and substantial

likelihood that Defendants will conceal or dissipate the funds increases.

       Further, should Defendants conceal or dissipate the proceeds of the

misappropriation, it would likely render any judgment against Defendants uncollectible.

Accordingly, if Defendants are not immediately enjoined from further dissipating the

Eshelman Funds in their respective accounts, Plaintiff will not have an adequate remedy at


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law. See Texas Black Iron, Inc. v. Arawak Energy Int’l, Ltd., 527 S.W.3d 579, 586

(Tex.App.—Houston [14th Dist.] 2017, no pet.) (“[A] plaintiff does not have an adequate

remedy at law if the defendant faces insolvency or becoming judgment proof before trial.”)

       Here, there is a direct, proven connection between the wrongful conduct of

Defendants and TTV’s bank account where Plaintiff wired the money (Exhibit J at

TTV0010 (11/5 transaction) and TTV009 (11/13 transaction)), The Bopp Law Firm’s bank

account where TTV wired $500,000 (Exhibit J at TTV009 (11/10 transaction), OPSEC’s

bank account where TTV wired $750,000 (Id. at TTV009 (11/12 transaction)

corresponding with Exhibit K, a true and correct copy of OPSEC’s 11/9/20 invoice for

$350,000; Exhibit J at TTV 004; Exhibit L, a true and correct copy of OPSEC’s 12/7

invoice; Exhibit R), and Engelbrecht’s accounts where TTV wired $30,000 (Exhibit J at

TTV006 (11/30 transaction) and TTV009 (11/10 transaction).

       The harm to Plaintiff is a direct and proximate result of Defendants’ acts. The

requested relief is appropriate to preserve the status quo until a hearing can be held.

       Although a preliminary injunction may be an inappropriate remedy “where the

potential harm to the movant is strictly financial,” Atwood, 875 F.2d at 1179, “the mere

fact that economic damages may be available does not always mean that a remedy at law

is adequate.” Janvey, 647 F.3d at 600 (emphasis added). For example, the primary

justification for granting a preliminary injunction is “to preserve a court’s ability to render

a meaningful decision on the merits.” Id. But when the assets in dispute are at risk of

dissipation by the defendant, a court may not be able to render a meaningful remedy

without the use of an injunction. See id. Thus, a court “may maintain the status quo and


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issue a preliminary injunction to protect a remedy, including a damages remedy, when the

freezing of the assets is limited to the property in dispute . . . .” Id. (citing Productos

Carnic, S.A. v. Cent. Amer. Beef & Seafood Trading Co., 621 F.2d 683, 686-87 (5th Cir.

1980) (“[E]ven were [plaintiff’s] remedy limited to damages, an injunction may issue to

protect that remedy.”)).

       Additionally, although proof of the threatened harm must be more than mere

speculation, evidence the defendant intends to dissipate the assets in dispute is sufficient

to demonstrate more than an unfounded fear on the part of the applicant. Janvey, 647 F.3d

at 599-600 (upholding injunction freezing assets while a receivership case proceeded to

judgment); Productos Carnic, 621 F.2d at 686 (upholding trial court’s determination that

plaintiff had shown potential irreparable injury where evidence showed defendant intended

to transfer the disputed property).

       Here, the threat of Defendants’ further dissipation of Plaintiff’s money would

preclude this Court from granting Plaintiff an effective remedy, either in equity or law,

because Defendants’ assets fall far short of Plaintiff’s damages. TTV’s net assets totaled

$64,743 in 2018 and TTV had only $               in its account prior to Plaintiff’s donation.

Exhibits J and P. Additionally, TTV’s conduct to date transferring much of the money to

the other Defendants—even after this suit was filed—evidences TTV’s intent to dissipate.

Exhibit J. Likewise, TTV’s refusal to commit to forego spending the Eshelman Funds is

itself proof of Defendants’ intent. Because the other Defendants were all employees,

officers, or agents of TTV, they all know of Plaintiff’s repeated requests to return the




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money, yet they have not returned the money. This demonstrates the other Defendants

anticipate hiding or dissipating the portions of the Eshelman Funds they have.

       After Plaintiff asked for a return of the funds, TTV vaguely stated it had other

outstanding obligations. Am. Compl. at ¶ 50; Exhibit F. When Plaintiff demanded

immediate return of his money, Defendant offered only $1 million subject to a release of

claims. Am. Compl. at ¶ 55; Exhibit I. Consequently, when Plaintiff attempted to have

TTV served with the Complaint in this matter, it was no surprise the investigator could not

find TTV at the addresses associated with TTV. See Exhibit M, Wilson Declaration. Two

of the addresses were occupied by business unaffiliated with TTV. Id.

       Due to Defendants’ bad faith and evasive conduct, Defendants’ limited assets,

and the fact TTV has already dissipated over half of Plaintiff’s money in less than two

months, it is clear Plaintiff would suffer irreparable harm absent a restraining order and

injunction. Defendants’ dissipation of the funds would deprive Plaintiff of a meaningful

remedy after trial.

       Therefore, the only adequate, effective, and complete relief to Plaintiff is to restrain

Defendants from transferring, dissipating, or disbursing Plaintiff’s money. See USACO

Coal Co. v. Carbomin Energy, Inc., 689 F.2d 94, 97 (6th Cir. 1982).

       IV. There is no harm that will result if the injunction is granted.

       An injunction is proper if the threat of an ineffective remedy outweighs the damage

which the injunction might cause the defendant. Productos Carnic, 621 F.2d at 687. Here,

maintaining the status quo using an injunction would not cause Defendant any harm. If

Defendants are prevented from transferring Plaintiff’s funds, the only possible harm


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Defendants face is the loss of progress in its Validate the Vote effort. Given that the

election results are now certified, and Defendants have abandoned the efforts that were the

reason for the conditional donation (Exhibit B), freezing the funds will not materially affect

Defendants’ interests. Deckert, 311 U.S. at 290 (upholding injunction as reasonable it was

framed narrowly to restrain only the transfer of certain funds). Thus, the injury to Plaintiff

that would occur without the injunction heavily outweighs whatever hardship Defendant

might allege from being restrained from further dissipating Plaintiff’s money.

       V.    Granting the injunction will serve the public interest.

       Granting the restraining order and injunction would serve the public interest. The

public interest in this case is the public’s ability to trust in the Court to protect individual’s

property rights from infringement by wrongful possessors. Further, there is no evidence

Defendants have used or will use Plaintiff’s funds to accomplish meaningful Validate the

Vote goals, the election results have been certified, and Defendants’ possession of funds

that it is not entitled to retain would erode the public’s trust in the efficacy of the judicial

system to protect individual property rights.

       VI. The Court should enter the temporary restraining order and preliminary
           injunction.

       Therefore, to prevent the unjust and inequitable wasting of the misappropriated

funds, Plaintiff requests the Court to enjoin Defendants from using the following monies

and to freeze the following amounts in the following bank accounts: (1) $2.5 million of the

Eshelman Funds in TTV’s Wells Fargo bank account, representing the amount Plaintiff

conditionally gave to TTV (or any amount less than $2.5 million if less than that amount



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currently is in TTV’s bank account); (2) $500,000 of the Eshelman Funds in The Bopp

Law Firm’s Fifth Third Bank account (or any amount less than $500,000 if less than that

amount currently is in the account); (3) $750,000 of the Eshelman Funds in OPSEC’s

account (or any amount less than $750,000 if less than that amount currently is in the

account) and (4) $30,000 in Engelbrecht’s Wells Fargo accounts (or any amount less than

$30,000 if less than that amount currently is in Engelbrecht’s accounts).

       Accordingly, a TRO and preliminary injunction freezing the assets in those specific

accounts is not only permissible, but necessary. See Texas Black Iron, 527 S.W.3d at 587

(injunction is not precluded where the assets at issue in the injunction are at issue in and

may be used to satisfy claims in the parties’ dispute); see also G & H Partners, Ltd. v. Boer

Goats Int’l Ltd., 896 F. Supp. 660, 663 (W.D. Tex. 1995), aff’d sub nom. G & H Partners

v. Boer Goats, 84 F.3d 432 (5th Cir. 1996) (acknowledging TRO previously granted by the

court that “prohibit[ed] the defendants from removing funds located in defendants’ account

in the Sunburst Bank in Louisiana […] because it contained a $120,000 payment made to

defendants”); Janvey v. Alguire, No. 3:09-CV-724-N, 2010 WL 11626677, at *2 (N.D.

Tex. May 28, 2010) (granting TRO where plaintiff provided evidence that the frozen funds

are the product of fraudulent transfer).

       Plaintiff will provide Defendants’ counsel with notice of this Motion. Nonetheless,

Plaintiff avers the hearing on this Application for Temporary Restraining Order should go

forward regardless of whether Defendants are able to participate because of the likelihood

the money will disappear without prompt action. Plaintiff is willing to post a bond.




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                                   CONCLUSION

      Plaintiff respectfully requests that the Court enter the temporary restraining order

and preliminary injunction.




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                         CERTIFICATE OF WORD COUNT

      I certify that the above Application/Motion has 4,974 words.


                                         /s/ Douglas A. Daniels
                                         Douglas A. Daniels


                         CERTIFICATE OF CONFERENCE

         I certify that on Saturday, 1/9/2021, my associate Sabrina Tour emailed opposing
counsel Brock Akers and James Bopp to confer regarding this Emergency
Application/Motion.
        On Monday, 1/11/2021, Mr. Akers, counsel for Defendants True the Vote,
Catherine Engelbrecht, Gregg Phillips, and the OPSEC Group emailed and indicated his
opposition to the Emergency Application/Motion.
        On 1/11/2021, counsel for the remaining two Defendants—James Bopp, Jr. and
The Bopp Law Firm—emailed that they are not available to confer until Wednesday,
1/13/2021 (four days after Ms. Tour’s 1/9 email) due to a deposition and related
travel. They also noted that Ms. Engelbrecht is hiking on a mountain and is not
“predictably available” (however, Mr. Akers represents Ms. Engelbrecht in this matter, and
Mr. Akers has emailed his opposition). We corresponded multiple times, including
sending opposing counsel a draft of the Application/Motion. I also asked point blank the
following question: “Are you and your firm prepared to return the $500,000 you received
from True the Vote following Mr. Eshelman’s conditional donation, and to provide a
detailed accounting for so much of those funds you contend was legitimately earned? If
yes, then please do so immediately. If not, then there is nothing else to confer
about.” Counsel for The Bopp Firm and Mr. James Bopp did not answer the question and
replied and stated that we have not complied with the Court’s rules regarding efforts to
seek agreement. The email chain setting out the attempt to confer is being attached at the
request of Mr. Bopp and his firm.



                                         /s/ Douglas A. Daniels
                                         Douglas A. Daniels




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of January, 2021 a true and correct copy of the
above foregoing document has been forwarded to counsel of record via ECF, and to all
parties via email:

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                                          /s/ Douglas A. Daniels
                                          Douglas A. Daniels




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